      Case 1:17-cv-04372-ODE Document 5 Filed 12/14/17 Page 1 of 1

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                                                                       ;·    U&.O.C. ·• Afianta
                     IN THE UNITED STATES DISTRICT COU~T
                    FOR THE NORTHERN DISTRICT OF GEORGIA                     DEC f 4 2017
                              ATLANTA DIVISION


MAIN STREET RENEWAL, LLC,

      Plaintiff
                                                      CIVIL ACTION FILE NO.
v.                                                    1:17-CV-4372-0DE-JKL

TAVIAR JONES 1 and all other
occupants,

      Defendant
                                              ORDER

      This civil action is before the Court on the Final Report and

Recommendation of United States Magistrate Judge John K. Larkins III

filed November 6,        2017   [Doc.       3]   ("R&R").        No objections have been

filed.
      In the R&R, Judge Larkins recommends that this case be remanded

to   the    Magistrate    Court       of    Fulton County.          Remand   is warranted

because this Court lacks jurisdiction over the case.
      The Court having read and considered the R&R and noting the

absence     of   any objections            thereto,   it    is    hereby ADOPTED as           the

opinion and order of the Court.                  Accordingly, this case is REMANDED

to the Magistrate Court of Fulton County, Georgia.



      SO ORDERED, this          J'f        day of December, 2017.




                                  ORINDA D. EVANS
                                  UNITED STATES DISTRICT JUDGE




      1
          Defendant is proceeding pro se.
